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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA




UNITED STATES OF AMERICA                                  CRIMINAL ACTION

v.                                                        NO. 17-169


Tony Lam                                                  SECTION “F”


                            ORDER AND REASONS

       Before the Court is Tony Lam’s 28 U.S.C. § 2255 motion to

vacate, set aside, or correct his sentence. For the following

reasons, the motion is DENIED, and no certificate of appealability

shall issue.

                                  Background

       In September of 2017, Mr. Lam waived his right to prosecution

by indictment and consented to prosecution by information on a

charge of distribution of a Schedule I controlled sentence.           After

nearly a year, Mr. Lam entered a plea of Guilty in August of 2018.

In December, Mr. Lam was sentenced by this Court to a term of 327

months.

       Before his indictment on these federal charges, Mr. Lam had

been    twice   convicted    of    conspiracy   to   possess    controlled

substances with intent to distribute.             As such, Mr. Lam was

labelled a “career offender” as per U.S.S.G. § 4B1.2, which made


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his advisory guidelines imprisonment range between 262 and 327

months.    Mr. Lam’s counsel did not object to the career offender

enhancement or to the calculation which produced the guidelines

range. 1   The failure to object to that enhancement drives this §

2255 motion.

     Mr. Lam appealed his sentence to the Fifth Circuit on two

grounds.    First, he asserted that the Court erred in applying the

career offender enhancement.      Second, he asserted that his counsel

was ineffective for failing to object to the pre-sentencing report

in which the enhancement was included.       The Fifth Circuit affirmed

Mr. Lam’s conviction and sentence, holding that this Court had not

clearly and obviously erred.         As such, the Fifth declined to

consider Mr. Lam’s ineffective assistance of counsel claim and did

so without prejudice to his ability to seek collateral review.

The United States Supreme Court denied Mr. Lam’s petition for writ

of certiorari in October of 2020, and Mr. Lam filed this motion in

May of 2021.

                                Analysis

                                    I.

     A petitioner may file a habeas corpus petition pursuant to 28

U.S.C. § 2255, claiming a right to release from custody on the

ground that a sentence ordered by a federal court “was imposed in


1 Mr. Lam’s counsel did, however, submit a sentencing memorandum
requesting a below-guidelines sentence.
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violation of the Constitution or the laws of the United States.”

28 U.S.C. § 2255. 2   “Relief under 28 U.S.C. § 2255 is reserved for

transgressions of constitutional rights and for a narrow range of

injuries that could not have been raised on direct appeal and

would, if condoned, result in a complete miscarriage of justice.”

United States v. Gaudet, 81 F.3d 585, 589 (5 Cir. 1996) (citations

and internal quotation marks omitted).        A claim of error that is

neither constitutional nor jurisdictional is not cognizable in a

§ 2255 proceeding unless the error constitutes a “fundamental

error” that “renders the entire proceeding irregular or invalid.”

United States v. Addonizio, 442 U.S. 178, 185 (1979).

     The Court “may entertain and determine such motion without

requiring the production of the prisoner at the hearing.”                 28

U.S.C. § 2255.    Having considered the record, the motion, and the

government’s responses, the Court finds that the record is adequate

to address the petitioner’s claims and to dispose of them as a

matter of law.    Accordingly, no evidentiary hearing is necessary.

See United States v. Walker, 68 F.3d 931, 934 (5 Cir. 1995) (“if

on th[e] record we can conclude as a matter of law that [the

petitioner] cannot establish one or both of the elements necessary


2 Section 2255 identifies only four bases that might support a
motion to vacate: (1) the sentence was imposed in violation of the
Constitution of laws of the United States; (2) the Court was
without jurisdiction to impose the sentence; (3) the sentence
exceeds the statutory maximum sentence; or (4) the sentence is
“otherwise subject to collateral attack.” Id.
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to establish his constitutional claim, then an evidentiary hearing

is not necessary”).

       A habeas petitioner has the burden of establishing his claims

by a preponderance of the evidence.         Wright v. United States, 624

F.2d 557, 558 (5 Cir. 1980) (citations omitted).              If the Court

finds that the petitioner is entitled to relief, it “shall vacate

and set the judgment aside and shall discharge the prisoner or

resentence him or grant a new trial or correct the sentence as may

appear appropriate.”       28 U.S.C. § 2255.

                                     II.
       A petitioner has one year within which to file his habeas

corpus claim.       28 U.S.C. § 2255(f).       This one-year period runs

from the latest of:

       (1)   the date on which the judgment of conviction becomes
             final;
       (2)   the date on which the impediment to making a motion
             created by governmental action in violation of the
             Constitution or laws of the United States is removed, if
             the movant was prevented from making a motion by such
             governmental action;
       (3)   the date on which the right asserted was initially
             recognized by the Supreme Court, if that right has been
             newly recognized by the Supreme Court and made
             retroactively applicable to cases on collateral review;
             or
       (4)   the date on which the facts supporting the claim or
             claims presented could have been discovered through the
             exercise of due diligence.
Id.     If a petitioner files a § 2255 motion beyond the applicable

one-year mark, the Court must dismiss the petition as untimely.


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     Mr. Lam’s judgment became final when the Supreme Court denied

his petition for a writ of certiorari on October 5, 2020.                          As such,

the one-year period that Mr. Lam had to file his habeas corpus

petition under 28 U.S.C. § 2255 commenced on that date.                           Mr. Lam’s

petition was filed on May 24, 2021 and is therefore timely.

                                               III.

                                     A. Legal Standard

     The    Sixth       Amendment         to    the      United   States    Constitution

provides that “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his

defense.”      U.S. Const. Amend. VI.                 The Sixth Amendment guarantees

a   criminal     defendant       the       effective        assistance      of    counsel.

Strickland v. Washington, 466 U.S. 668 (1984).

     Ineffective assistance of counsel claims are reviewed under

Strickland’s two-prong standard: a habeas petitioner must “show

that counsel’s performance was deficient” and that “the deficient

performance prejudiced the defense.”                        Id. at 697.           Deficient

performance       is      established            by       showing       “that     counsel’s

representation          fell     below              an     objective       standard       of

reasonableness.”        Id. at 688.            In applying this standard, a “court

must indulge a ‘strong presumption’ that counsel’s conduct falls

within   the     wide    range       of    reasonable        professional        assistance

because it is all too easy to conclude that a particular act or

omission    of   counsel       was    unreasonable          in    the    harsh    light   of

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hindsight.”      Bell v. Cone, 535 U.S. 685, 702 (2002) (citation

omitted).       In    other     words,      “judicial    scrutiny       of   counsel’s

performance must be highly deferential.”                 Strickland, 466 U.S. at

689.

       The prejudice prong requires that the petitioner show “there

is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.”

Id. at 694 (“[a] reasonable probability is a probability sufficient

to   undermine       confidence     in      the    outcome”    of   a   proceeding).

Significantly,        “[t]his     is    a    heavy    burden    which    requires    a

‘substantial,’ and not just a ‘conceivable,’ likelihood of a

different result.”       United States v. Wines, 691 F.3d 599, 604 (5th

Cir. 2012) (citations omitted).                  Finally, because the petitioner

must make both showings to obtain habeas relief, there is no

requirement that a court “address both components of the inquiry

if     the   defendant    makes        an    insufficient      showing       on   one.”

Strickland, 466 U.S. at 697.

                                       B. Analysis

       Mr. Lam contends that his counsel was ineffective in failing

to object to the career offender enhancement.                       The Sentencing

Guidelines provide in part that “[a] defendant is a career offender

if … (3) the defendant has at least two prior felony convictions

of either a crime of violence or a controlled substance offense.”

(U.S.S.G. § 4B1.1).        “Controlled substance offense” is defined in

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§ 4B1.2 of the Sentencing Guidelines as “an offense under federal

or state law, punishable by imprisonment for a term exceeding one

year,       that     prohibits        the    manufacture,       import,      export,

distribution, or dispensing of a controlled substance … or the

possession of a controlled substance … with intent to manufacture,

import, export, distribute, or dispense.”                An application note to

this section states: “For purposes of this guideline … ‘controlled

substance offense’ include[s] the offenses of aiding and abetting,

conspiring, and attempting to commit such offenses.”                     U.S.S.G. §

4B1.2, cmt. n. 1.        That application note is at the heart of this

motion.     Mr. Lam contends that the application note “impermissibly

expand[s]      the    career     offender       guideline’s     definition    of   a

controlled substance offense beyond the statutory directive.”

       The question before the Court, however, is not whether Mr.

Lam    is   correct.     It     is    whether    Mr.   Lam’s   counsel    performed

deficiently in failing to raise this argument.                 At the outset, the

Court notes that the Fifth Circuit rejected Mr. Lam’s substantive

argument on appeal.       Mr. Lam brought this same argument before the

Fifth Circuit, which reviewed this Court’s sentencing for plain

error.      See United States v. Lam, 803 Fed. Appx. 796, 797 (5 Cir.

2020).      Citing to United States v. Lightbourn, in which the Fifth

stated that “[t]he Sentencing Commission has … lawfully included

drug     conspiracies      in        the    category    of     crimes     triggering

classification as a career offender under § 4B1.1 of the Sentencing

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Guidelines,” 115 F.3d 291, 293 (5 Cir. 1997), the Fifth ruled that

Mr. Lam had not shown plain error.                    Lam, 803 Fed. Appx. At 797.

       As the Fifth Circuit noted, however, Mr. Lam’s appeal was

reviewed for plain error only because his counsel did not raise an

objection       in    this      Court.      Had      counsel    objected,      Mr.    Lam’s

contentions regarding this Court’s interpretation and application

of the Sentencing Guidelines would have been reviewed de novo.

See Lam, 803 Fed. Appx. at 797.                     Mr. Lam contends that a de novo

review would have changed the outcome of his appeal, and that

counsel was therefore deficient for failing to raise the argument.

       The Court disagrees.              First, the Court notes that counsel is

not expected to “anticipate changes in the law or raise meritless

objections.”         United States v. Fields, 565 F.3d 290, 296 (5 Cir.

2009) (citations omitted).               Counsel is required “to research facts

and    law    and     raise     meritorious         arguments   based   on    controlling

precedent.”          Id. (citation omitted).                In this case, controlling

precedent runs contrary to Mr. Lam’s argument.                     As noted, the Fifth

Circuit      stated       in   Lightbourn   that      the    application     note    validly

includes conspiracy charges

       In response, Mr. Lam presents two contentions.                   First, he argues

that Lightbourn is distinguishable and dealt with this issue only in

dicta.    Second, he notes that other circuits have ruled otherwise on

this    issue       and    suggests      that   the    Fifth    would   reconsider      its

jurisprudence based on the Supreme Court’s recent decision in Kisor


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v. Wilkie, 139 S. Ct. 2400 (U.S. 2019).          As Mr. Lam notes, Kisor

was issued after his sentencing, so counsel cannot be faulted for

failing to cite a case that did not yet exist.            And while other

Circuit Courts have held that inchoate crimes cannot be annexed

into the guidelines by means of the application note, see United

States v. Winstead, 890 F.3d 1082, 1091 (D.C. Cir. 2018), see also

United States v. Havis, 927 F.3d 382, 387 (6 Cir. 2019), 3 Fifth

Circuit precedent controls in this Court. 4

      Mr. Lam’s claims concerning Lightbourn must likewise fail.

The Fifth Circuit declined to rule on whether the relevant language

in    Lightbourn    is   dictum    but   noted   that    “[a]lthough       not

precedential, dictum is persuasive authority.” Lam, 803 Fed. Appx.

at 797 (citation omitted).        But whether the language is dicta or

essential, other Fifth Circuit cases have followed suit.               See,




3 Havis was decided after Mr. Lam’s sentencing, and it appears that
the Sixth Circuit had previously held that inchoate convictions
count towards application of the career offender enhancement. See
United States v. Solomon, 592 Fed. Appx. 359 (6 Cir. 2014).
4 Mr. Lam cites an unpublished Fifth Circuit decision which he

claims upholds his claim that, post-Kisor, the Fifth is ready to
reconsider its jurisprudence on this issue. In part, the opinion
from Judge Jones reads: “[i]f … we were not constrained by
Lightbourn, our panel would be inclined to agree with the Third
Circuit [that convictions for inchoate and conspiracy charges
should not be annexed into the definition for purposes of the
career offender enhancement.” United States v. Goodin, 835 Fed.
Appx. 771, 782 n.1. While this may indicate a willingness on the
Fifth’s part, this opinion simply reinforces the fact that
controlling precedent in this Circuit holds otherwise, and that
counsel was therefore not deficient in failing to raise a
contention foreclosed by precedent.
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e.g., United States v. Lucius, 737 Fed. Appx. 685, 686 (5 Cir.

2018) (noting that “application note 1 to § 4B1.2 specifically

states that a crime of violence includes ‘the offenses of aiding

and   abetting,     conspiring,     and    attempting    to   commit     such

offenses’”). 5

      Counsel    could   have   objected   to   the   application   of   this

enhancement to Mr. Lam.         Seen through the “highly deferential”

lens by which courts must treat counsel’s conduct, Mr. Lam has not

met his burden.     Controlling precedent in the Fifth Circuit holds

that conspiracy convictions count for purposes of the career

offender enhancement.      Therefore, counsel cannot be said to have

been unreasonable for failing to object to application of the

enhancement.

      Finally, because the Court finds that Mr. Lam has failed to

show that “counsel’s performance was deficient,” Strickland, 466

U.S. at 697, it need not analyze Mr. Lam’s claims under the second

Strickland prong at length.        The Court notes, however, that even

if counsel had preserved this issue for de novo review on appeal,

Fifth Circuit precedent, as already discussed, would have been




5 See also United States v. Kendrick, 980 F.3d 432, 444 (5 Cir.
2020) (“Given that Lightbourn has not been overturned, its holding
- conspiracies … qualify as controlled-substance offenses -
remains binding here”). As Kendrick was decided well after Mr.
Lam’s sentencing, counsel cannot be credited for anticipating it.
However, it demonstrates that the Fifth has not reversed course on
this issue.
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against Mr. Lam.          As such, it is unlikely that Mr. Lam was

prejudiced by his counsel’s decision not to object.                  Mr. Lam has

failed to carry his burden on either Strickland prong.

                                        IV.

       Rule   11    of   the    Rules   Governing Section 2255 Proceedings

states:

       The district court must issue or deny a certificate of
       appealability when it enters a final order adverse to
       the applicant. Before entering the final order, the
       court may direct the parties to submit arguments on
       whether a certificate should issue.

A court may issue a certificate of appealability only if the

petitioner     makes     “a    substantial    showing    of   the   denial   of   a

constitutional right.” 28 U.S.C. § 2253(c)(2). In order to obtain

a certificate of appealability, the petitioner must show “that

reasonable jurists could debate whether (or, for that matter, agree

that) the petition should have been resolved in a different manner

or    that    the   issues      presented     [are]     ‘adequate    to   deserve

encouragement to proceed further.’”             Slack v. McDaniel, 529 U.S.

473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893

(1983)).      Mr. Lam has not met the strict Strickland test for

proving ineffective assistance of counsel.                 While counsel could

have objected to application of the career offender enhancement,

Mr. Lam has not shown that his counsel was ineffective not to do

so.    Because he has not made a substantial showing of the denial



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of a constitutional right, the Court will not issue a certificate

of appealability.

                                  ***

     Accordingly, for the foregoing reasons, IT IS ORDERED that

Mr. Lam’s motion is DENIED.    IT IS FURTHER ORDERED: that, because

he has not made the requisite showing, the Court shall not issue

a certificate of appealability.



                           New Orleans, Louisiana, October 6, 2021


                                 _____________________________
                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




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